        Case 3:19-cr-00723-FAB Document 48 Filed 07/22/20 Page 1 of 2




                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA,
Plaintiff,

                     v.                    Crim. No.: 19-723 (FAB)

OMAR GARCIA NUNEZ [1],
Defendant.

               MOTION IN COMPLIANCE WITH COURT ORDER

TO THE HONORABLE COURT:

      COMES NOW, Omar Garcia Nunez represented by the Federal Public

Defender for the District of Puerto Rico and very respectfully states and prays:

      On June 22, 2020, the Court entered an Order requesting defendant to

inform if he consented to be sentenced via the Court’s video teleconferencing

system. Dkt. # 44.

      Today, undersigned had a videoconference with Mr. Garcia and explained

the availability of the Court’s video teleconferencing (VTC) system for hearings.

      Mr. Garcia expressed that he would prefer to be physically present in the

courtroom for his sentencing hearing and did not consent to have his hearing

held via the Court’s VTC system.

      WHEREFORE, Omar Garcia Nunez respectfully requests the Court take

notice of the above and set a Sentencing Hearing date for a day the Court is open

and safe for all parties to attend personally without being in risk of contagion of

COVID-19.

      RESPECTFULLY SUBMITTED.




                                     Page 1 of 2
         Case 3:19-cr-00723-FAB Document 48 Filed 07/22/20 Page 2 of 2




      In San Juan, Puerto Rico on July 22, 2020.

      CERTIFICATE OF SERVICE: I hereby certify that on this date I filed the

foregoing document with the Clerk of the Court for the District of Puerto Rico,

through the CM/ECF Electronic Filing System, which will send notification of

this filing to all parties of record.

                                              Eric A. Vos, Esq.
                                              Federal Public Defender
                                              District of Puerto Rico

                                              /s/ Javier A. Cuyar Olivo
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                                              /s/ Victor M. Chico Luna
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                                        Page 2 of 2
